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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES -- GENERAL

 

 

CaseNo. CV 21-5869-JFW(SKx) Date: October 13, 2021
Title: BASF Corporation -v- Ashraf M. Jakvani
PRESENT:
HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE
Shannon Reilly None Present
Courtroom Deputy Court Reporter
ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:
None None

PROCEEDINGS (IN CHAMBERS): ORDER TO SHOW CAUSE RE: DISMISSAL FOR LACK
OF PROSECUTION

Plaintiff is ordered to show cause, in writing, no later than October 27, 2021, why this
action should not be dismissed for lack of prosecution.

The Court will consider the filing of the following on or before the above date as an
appropriate response to this Order to Show Cause:

Proof of service of summons and complaint

Answer by the defendant or an application for entry of default pursuant to Federal Rule
of Civil Procedure 55(a)

Motion for entry of default judgment set for hearing in accordance with the Local Rules
X and the Court's Standing Order
No oral argument on this matter will be heard unless otherwise ordered by the Court. See
Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand submitted upon the filing of the response
to the Order to Show Cause. Failure to respond to the Order to Show Cause will result in the
dismissal of this action.

IT IS SO ORDERED.

Initials of Deputy Clerk _ sr
(Rev. 10/1/04)
